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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 TRUSTID, Inc.,

                      Plaintiff,

                      v.                             Civil Action No. 18-cv-00172-LPS

 Next Caller, Inc.,

                      Defendant.




              DECLARATION OF JAMES R. BRESS IN SUPPORT OF
       PLAINTIFF TRUSTID, INC’S OPENING CLAIM CONSTRUCTION BRIEF


        I, James R. Bress, declare:

        1.      I am over the age of 18. Except where stated otherwise, I have personal

 knowledge of the facts set forth herein, which are known by me to be true and correct. If called

 as a witness, I could and would competently testify to these statements.

        2.            This declaration is submitted in support of Plaintiff TRUSTID, Inc.’s

 (“TRUSTID”) Opening Claim Construction Brief.

        3.            I have been retained by TRUSTID in the above-captioned matter, and have

 been asked to offer my opinion as to the meaning of certain claim terms recited in U.S. Patent

 No. 9,001,985 (“the ’985 Patent”) and U.S. Patent No. 8,238,532 (“the ’532 Patent”)

 (collectively, “the Patents” or “the patents-in-suit”). Specifically, I have been asked to offer my

 opinion on the meaning of the following terms: (1) “source origin confidence metric” / “source

 origin confidence metric of a calling party number or billing number” / “source origin confidence

 metric for the calling party number or billing number” (recited in various claims of the ’985 and
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 ’532 Patents); and (2) “consortium information” (recited in claim 10 of the ’985 Patent and in

 claim 27 of the ’532 Patent).

        4.      In forming my opinions, I have reviewed and considered, at least, the following

 documents: the ’985 Patent and the ’985 Patent’s prosecution history, the ’532 Patent and the

 ’532 Patent’s prosecution history; and the other documents referenced herein.

        5.      I am being compensated for my time at a rate of $350/hour. My opinions stated

 herein in no way depend on my compensation.


   I.        QUALIFICATIONS AND BACKGROUND

        6.      I am a former Bellcore engineer and author of Bellcore network features

 requirements with over 35 years of experience in communication systems and equipment testing,

 hardware and software design, and network signaling services. I am currently President and

 Chief Technical Officer of AST Technology Labs, Inc., a company that focuses on

 communication product performance testing and design consulting services.

        7.      I have experience with the technologies described in the patents-in-suit, including

 telecommunications network architectures, protocols, standards, Public Switched Telephone

 Networks (PSTN), Advanced Intelligent Network (AIN), Voice-over-IP (VoIP) telephony and

 networks, mobile networks, interworking between PSTN, VoIP, and mobile networks, the

 Session Initiation Protocol (SIP), the H.323 Protocol, the Transmission Control Protocol (TCP),

 the Internet Protocol (IP), call processing for both PSTN, VoIP, and mobile networks, network

 interfacing, network interconnection, gateways, call controllers, soft switches, etc. Below, I

 provide a brief summary of my education and qualifications.

        8.      I received a Bachelor of Science degree in electrical engineering from the

 University of North Carolina at Charlotte in 1985, and a Master of Science degree in electrical


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 engineering from the California Institute of Technology in 1987, where I had a grade point

 average of 4.0 out of a possible 4.0. From 1982 to 1984, while still attending the University of

 North Carolina, I was an engineering technician at Process Systems, Inc., located in Charlotte,

 NC. My duties there included technical writing for energy management field-located equipment

 and host system software and user manuals, as well as developing test equipment for field‐

 located equipment and host systems.

        9.      In addition to my educational background, I have over 35 years of experience in

 the telecommunications industry. In 1985, after graduating from the University of North

 Carolina, I was employed by Bell Communications Research, Inc. (also known as Bellcore),

 located in Piscataway, NJ. I was a member of the Technical Staff at Bellcore with responsibility

 for numerous telecommunications systems operations and development projects. For these

 systems-related projects, I was responsible for development and integration including computers,

 network hardware, network interconnections, network signaling, network protocols, database

 technologies, software, user interfaces, client-server operations, and telephony features. I also

 authored numerous system requirement publications and recommendations for Bellcore.

        10.     In 1995 I founded AST Technology Labs, Inc., located in Melbourne, FL, where I

 am the President and Chief Technical Officer. My responsibilities at AST include the

 development of detailed specifications, architectures, hardware, and software for custom

 telecommunications and telephony test systems including analog, digital, VoIP, and wireless.

        11.     I have served on numerous standards setting committees of the

 Telecommunications Industry Association (“TIA”) and have been a prime contributor to many

 published ANSI (American National Standards Institute) / TIA telecommunications standards. I

 served continuously from 2000 to 2017 as chairman or vice chairman of the TIA TR41.3



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 subcommittee for Communications Products Performance and Accessibility. From 2017 to the

 present I have served as the chairman of the TIA TR41 engineering committee for

 Communications Products Performance and Accessibility. In relation to my work within the

 TIA, I received the HLAA (Hearing Loss Association of America) 2018 National Access Award

 for my development work and leadership in standards that have impacted telecommunications

 accessibility on a national level. Additionally, in 2018, I received an ANSI (American National

 Standards Institute) Meritorious Service Award in recognition of my 20+ years of leadership and

 contributions to the U.S. voluntary standardization system.

        12.     Starting in 2017 and to the present, I am the chairman of the Bluetooth SIG High

 Quality Audio study group. This project is focused on developing a new Bluetooth specification

 for Bluetooth audio device conformance as an indication of meeting high quality audio

 performance standards.

        13.     My first assignment during my employment at Bellcore was in the software

 operations area. This area was focused on operations system software including PREMIS

 (PREMise Information System), SOAC (Service Order Analysis & Control), and LFACS (Loop

 Facility Assignment and Control System). These software systems integrated hardware (network

 switching equipment and computers) and software (database, reporting, network control and

 management, and user interface) used for the operations systems used by Bellcore’s owners (the

 Bell Companies or “Baby Bells”). My experiences during this assignment included software

 installation and testing, network management and control, database configuration and schema

 development, troubleshooting network connectivity issues, and software documentation.

        14.     My next assignment at Bellcore was on a development team for the “Information

 Gateway” project. My responsibilities included data network design, network connectivity



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 implementation, configurations, and troubleshooting for the connectivity of computer systems

 located in multiple USA states. These computer systems provided access to databases and

 terminal interface software from distributed network connected workstations. In addition to

 networking, I was also responsible for database system design and distributed network access to

 compressed image files located on network connected servers.

        15.     My work in Bellcore’s “New Services Development” area included designing and

 prototyping new services that were focused on the use of the Advanced Intelligent Network

 (AIN) system features and components. These projects required an understanding of telephone

 system network architectures, signaling, protocols, and features operations. One of my projects

 in this area included interfacing to AIN components including Service Control Points (SCP) and

 Signaling Transfer Points (STP) to implement a telephone network control feature. I am the first

 named inventor on a patent for one of the systems developed which was integrated with the AIN

 (U.S. Patent No. 5,570,420, “Customer premise equipment network integrator”).

        16.     Another one of my assignments at Bellcore involving network signaling and

 features was for the development of the Analog Display Services Interface (ADSI) and the Caller

 ID on Call Waiting (CIDCW) feature that is now well known to telephone users. My

 responsibilities included developing prototype systems, including hardware and software, for

 network signaling. I was also responsible for developing Bellcore’s Customer Premises

 Equipment (CPE) test lab (including hardware, software, and reporting) to support the

 development of new telephony devices used with the ADSI and CIDCW features. These projects

 provided experience in the details of the network signaling and protocols germane to PSTN/AIN

 provided Caller-ID services. This included the signaling and database interactions required to

 support Calling Name (CNAM) services along with traditional Caller-ID (calling number)



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 services. The ADSI projects provided experience with call progress tones and the related

 PSTN/AIN network signaling that is related to a Central Office switch generating call progress

 signaling.

        17.     While at Bellcore, I designed and implemented network signal detection systems

 as a troubleshooting assignment for the Bell Companies. At this time in the late 1980s, most

 prison systems used primarily coin telephones, which were owned and operated by the Bell

 Companies, to provide telephony services to inmates. Inmates had discovered that they could

 defraud the telephone system by playing certain music into the telephone transmitter

 (microphone), which would cause the Bell Company Central Office (CO) to errantly record

 sometimes hundreds of dollars of credit due to falsely detecting coin-drop-confirmation tones.

 During this troubleshooting assignment, I gained experience in the issues related to security and

 fraud detection.

        18.     I am the first named inventor on U.S. Patent No. 7,076,031, “System and Method

 for Telephone Signal Collection and Analysis.” The impetus for this patent was the development

 of the TSA-6000® telephone signal recording and analysis system. This project culminated into

 the manufacture and sale of TSA-6000® systems starting at least by 2003. I was the chief

 architect for the design of this system, and I continue to serve as the technical lead for this

 project and product. The TSA-6000® system was designed using the concept of functional units

 that can be combined in any physical implementation including the functions of 1) signal data

 capture and recording; 2) analysis of the captured signaling data to identify pre-defined

 telephone signals and events occurring in the recorded signals, as well as identifying the modes

 of the telephone line; and 3) a user-friendly graphical interface for viewing signals and analysis

 data, and also for system configurations such as changing the parameters used during the



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 analysis operations. The software of the TSA-6000® was developed using “C” language and

 runs on a Windows®-based computer. The software has been revised over the years for multiple

 reasons including to add new pre-defined signal types or classifications, and to modify and

 enhance the signal analysis algorithms.

           19.   While employed at AST Technology Labs (AST), I have been responsible for the

 development of a “Call Generator” system for Telcordia Systems (formerly Bellcore). The Call

 Generator system included network interfaces integrated with a network-based controller system.

 My development responsibilities for the controller system included hardware integration,

 software development including network control, remote configuration, database, and user

 interfaces. The system was designed to demonstrate Telcordia’s larger system goal of handling

 “one million calls per minute” for emergency management. The system was installed at

 Telcordia and used for demonstrations by Telcordia management and sales teams.

           20.   In my position as chairman of the TIA-TR41.3 subcommittee and chairman of the

 TIA-TR41 committee for Communications Products Performance and Accessibility, I have been

 responsible for contributions to, and the development and publication of, several VoIP and

 mobile telephony performance standards for telephony and gateway equipment. In addition to

 my roles as chairman of the TIA-TR41.3 subcommittee and TIA-TR41 committee, I include as

 part of my responsibilities to be informed, and to maintain a level of expertise, regarding other

 standards bodies’ VoIP and mobile telephony related standards including those published by the

 IEEE (Institute of Electrical and Electronics Engineers), the ETSI (European

 Telecommunications Standards Institute), 3GPP (3rd Generation Partnership Project), the ITU

 (International Telecommunication Union), the IETF (Internet Engineering Task Force), and

 others.



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        21.     Starting in 2007, I led a project at AST for Microsoft for the development of

 detailed performance and testing specifications, and the development of custom testing

 capabilities, for Microsoft’s “Response Point” IP-PBX system. The detailed specifications

 covered each of the Response Point IP-PBX system components including telephony devices

 (handset, headset, and speakerphone), voice gateways (FXO/PSTN and FXS/ATA-Analog), and

 the system base controller (including SIP server, proxy, registrar, and voicemail server). In

 addition to developing the detailed performance and testing requirements, and performing testing

 on the Response Point systems, I also visited Microsoft’s customer’s installations for

 troubleshooting and consulting.

        22.     I am the chief architect and design engineer for the development of one of AST’s

 in-house test systems used for evaluating the performance of VoIP endpoints and gateway

 products. These endpoint products, and the test systems developed, employ the SIP (Session

 Initiation Protocol) and the SDP (Session Description Protocol) for establishing call connections,

 and the RTP (Real Time Protocol) for the transmission of media (e.g., packets of digitized voice)

 after session establishment. During the on-going development of these systems, I have gained

 experience in the operation and implementation of the stack of protocols that are used to

 implement VoIP features and services. This includes developing software enabled features for

 controlling and manipulating SIP signaling parameters, SDP session and device related

 parameters, and RTP parameters. In addition to controlling the content of the messages used by

 these protocols, the test systems I have developed control the timing of offer/answer

 negotiations, which is the primary method used to establish sessions between endpoints (e.g., a

 call between two VoIP telephones), or between endpoints and servers (e.g., a voicemail server)

 using SIP, SDP, and RTP protocols. I was responsible for implementing these systems which



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 required the development of user interfaces, configuration/provisioning features, custom IP

 protocol level control software, and the integration of network-based servers including SIP

 proxies and registrars.

        23.     I am a named inventor on U.S. Patent No. 9,020,621, “Network Based Media

 Enhancement Function Based on an Identifier,” which was based on the systems and concepts

 developed for a start-up company for whom I was a consultant. My responsibilities included

 research and development of system designs and architectures for IP-based IMS (Internet-

 protocol Multimedia Subsystem) servers and services. The systems developed provided services

 to users connecting to an IMS network via SIP/SDP enabled devices to access application servers

 located within an IMS network. The application servers provided the ability to enhance the audio

 of a VoIP telephone call by being inserted in the media path and modifying the audio to match a

 user’s needs based on the user’s hearing impairment parameters. As such, the application server

 performed the role of a media gateway with added features to provide the audio enhancements.

        24.     The many PSTN, VoIP (SIP, SDP, RTP, etc.), and IMS related projects that I

 have worked on have provided me with experience with call related signaling (including call

 progress and control signaling) in both the VoIP and the PSTN domains. Likewise, these projects

 have provided me with experience in the network signaling and protocols employed for services

 such as Caller-ID (number) and Calling Name (CNAM) in both the VoIP and PSTN domains.

 This includes the signaling generated by network servers and switches that access databases for

 looking up and retrieving parameters related to call signaling for service implementation,

 verifications, and authorizations.




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        25.      My Curriculum Vitae (Exhibit A) outlines my duties at Bellcore, AST, and as a

 consultant, includes further details about my education and professional career, and lists my

 patents and publications.


  II.         SUMMARY OF OPINIONS

        26.      I offer my opinions regarding the meaning of certain claim terms from the point

 of view of a person of ordinary skill in the art at the time of the invention (“POSITA”), which I

 define below.

        27.      In my opinion, a POSTIA would have understood the terms “source origin

 confidence metric,” “source origin confidence metric of a calling party number or billing

 number,” and “source origin confidence metric for the calling party number or billing number”

 (recited in various claims of the ’985 and ’532 Patents) to mean: “measure representing the

 credibility of the calling party number or the calling party billing number.”

        28.      In my opinion, a POSITA would have understood the term “consortium

 information” (’985 Patent at claim 10 and ’532 Patent at claim 27) to mean: “commercially

 available, aggregated data.”


 III.         LEGAL UNDERSTANDING

        29.      I understand from my discussions with TRUSTID’s counsel that the claims and

 specification of a patent are addressed to, and are intended to be read, by a POSITA to which the

 patent pertains, at the time of the filing of the patent application. I understand that the words of a

 claim are generally given their plain and ordinary meaning, which is the meaning that the term

 would have to a POSITA at the time of the invention (i.e., the effective filing date of the patent

 application). I understand that a patent’s specification is always highly relevant when construing

 a term and is the single best guide to the meaning of a claim term.

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        30.     I also understand that patent claims must be understood as a POSITA would

 understand them unless the patent, or the patent prosecution history, provides a different explicit

 definition. I have accordingly applied what I understand the plain and ordinary meaning of

 various claim limitations to be in my review of the ’985 and ’532 Patents and the patent

 prosecution histories of these patents.


 IV.          THE ’985 AND ’532 PATENTS

        31.     The ’985 and ’532 Patents involve technology that cover a broad range of call-

 trustworthiness, caller authentication, and anti-spoofing features, including methods of

 evaluating incoming telephone calls. I have extensive experience with the underlying

 technologies employed to implement the features described in the ’985 and ’532 Patents. The

 call-trustworthiness, caller authentication, and anti-spoofing features described in the Patents

 start by receiving information via Caller-ID or Automatic Number Identification (ANI), or other

 related features, which the Patents describe as being one of several features or methods for in

 general, receiving calling party identification information. See ’985 Patent at 6:10-22. The ’985

 and ’532 Patent specifications describe in detail using a variety of network-based features and

 capabilities to authenticate the calling party identification information. These authentication

 techniques provide the basis for evaluating the trustworthiness of the calling party identification

 information. Using the techniques disclosed, evaluating the trustworthiness of the received

 calling party identification information can lead to a source origin confidence metric, which is a

 measure representing the credibility of the received calling party identification information. The

 techniques described in the Patents to implement the disclosed methods and systems employ

 PSTN/AIN (Public Switched Telephone Network / Advanced Intelligent Network) and VoIP

 signaling, protocols, and features.


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        32.     As summarized above and in my CV, my 35+ year career in telecommunications

 has included multiple projects working with PSTN/AIN and VoIP network signaling, protocols,

 and feature implementations. I have extensive experience with PSTN/AIN signaling used for call

 setup and control including call progress signaling and the signaling features that are used to

 carry calling party identification information. Likewise, I have extensive experience with VoIP

 call setup and control including call progress signaling and the signaling features that are used to

 carry calling party identification information. Additionally, I have extensive experience with

 PSTN/AIN and VoIP based network features that perform database lookups during call setup.

 For example, in the PSTN/AIN, a Calling Name database is queried to populate the name field in

 a call setup message sent from an originating caller’s central office switch. The PSTN/AIN also

 performs database queries to databases controlled by Service Control Points (SCP) for subscriber

 service control and authorization. VoIP signaling uses database queries during call setup, for

 example, to locate the IP address of a called number or URL and to control billing.

        33.     I understand that the parties agreed that the specifications of the ’985 Patent and

 the ’532 Patent are substantially identical. After reviewing the specifications, I also agree that the

 specifications of the ’985 and ’532 Patents are substantially identical. Therefore, below I

 describe the technical background of the ’985 and ’532 Patents together, and cite only to the ’985

 Patent as a matter of convenience (unless otherwise indicated). But citations to the specification

 of the ’985 Patent apply with equal force to the specification of the ’532 Patent.

        34.     The ’985 and ’532 Patents describe anti-spoofing technology that “discover[s] and

 report[s] the trustworthiness and credibility of calling party number information . . . [using] real

 time telephone network status and forensics, network data, locally stored data, and predictive

 analytics.” ’985 Patent at 3:64-4:3.



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         35.     The concept of spoofed telephone calls—a displayed Caller ID number that is not

 the actual number the caller is calling from—is a problem of recent vintage. Even though

 Automatic Number Identification (ANI) and calling-number identification (Caller ID) have been

 available for decades (id. at 1:32-42), the ability to falsify or spoof these types of caller-

 identification information only became prevalent in the early 2000s, with the confluence of

 several different technologies, including VoiceXML applications, software-based private branch

 exchanges (PBX), and voice-over-IP (VoIP) telephony (id. at 3:7-33). One conventional

 approach to address spoofing is to require a caller to verify their identity by providing personally

 identifiable information (such as, a social security number or date of birth). Id. at 5:14-20. But

 using personally identifiable information has its own challenges and risks, and is thus not an

 optimal way to verify a caller.

         36.     The ’985 and ’532 Patents take a different approach. They disclose methods and

 systems for discovering and reporting the trustworthiness and credibility of the caller

 identification information associated with an incoming call. Id. at Title.

         37.     For example, the claimed inventions of the ’985 Patent includes at least three

 steps. First, an electronic system receives caller-identification information associated with an

 incoming call. See, e.g., id. at 15:6-10 (first step of claim 1); see also id. at 6:10-7:34 (describing

 various types of caller-identification information). Second, in the short time interval after the

 caller-identification information is received and before the call is answered (which is typically

 only a few seconds), the electronic system gathers information about the status of the telephone

 line or service associated with the caller identification information. See, e.g., id. at 15:11-15

 (second step of claim 1); see also id. at 8:35-9:39. The information that is gathered pre-answer

 may include, for example, “line-status, call progress information, and call progress messages and



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 their associated timing information” (id. at 8:49-51), “the current network condition of the

 telephone number” (id. at 8:53-54), and “the type of answer condition and line type” (id. at 8:61-

 62). Third, the collected information is then analyzed and compared to expected patterns to

 develop a “source origin confidence metric” for the caller-identification information received

 with the incoming call. See, e.g., id. at 15:16-19 (third step of claim 1); see also id. at 9:51-11:22.

 This confidence metric represents “the credibility of the calling party number.” Id. at 13:61-63.

 In other words, the confidence metric is used to mitigate the problems associated with spoofing.

 Id. at 5:40-55, 14:41-61.

        38.     FIG. 1, reproduced below, is a hybrid block diagram/flow chart of embodiments

 of the invention depicting certain aspects of the systems and methods of the ’985 Patent. Id. at

 5:63-67. The figure highlights that System 50 conducts significant analysis as depicted in Blocks

 10-20 to determine a “confidence metric.” System 50 then transmits the “confidence metric” to

 User 56 in Block 22 allowing User 56 to apply business rules based on the “confidence metric”

 as to how to handle the incoming call, as shown in Blocks 24A and B. The figure also further

 highlights that a “confidence metric” is a measure of the credibility of calling party number

 information associated with the incoming call as described in Block 20.




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                               ’985 Patent at FIG. 1.


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  V.          CLAIM CONSTRUCTION

        A. Person of Ordinary Skill in the Art at the time of the Invention (POSITA)


        39.     I understand that there is a concept in patent law known as a person of ordinary

 skill in the art at the time of the invention, which I abbreviate “POSITA.” I understand that this

 concept refers to a person who is trained in the relevant technical field of a patent without

 possessing extraordinary or otherwise exceptional skill. I further understand that factors such as

 the education level of those working in the field, the sophistication of the technology, the types

 of problems encountered in the art, prior art solutions to those problems, and the speed at which

 innovations are made may help establish the level of ordinary skill in the art.

        40.     Taking these factors into consideration, it is my opinion that one of ordinary skill

 in the art relevant to the ’985 and ’532 Patents would have a bachelor’s degree in electrical

 engineering, computer engineering, computer science, or a related engineering field and at least

 two years of experience with telecommunications signaling and protocols used for call

 processing.


        B. The “source origin” terms recited in the ’985 and ’532 Patents.


        41.     Counsel for TRUSTID has asked me to opine on how a POSITA would have

 understood the terms “source origin confidence metric” / “source origin confidence metric of a

 calling party number or billing number” / “source origin confidence metric for the calling party

 number or billing number” that are recited in claims 1, 8, 13-19 of the ’985 Patent and in claims

 1, 19, 21-23, 25, 30, 32, 43, and 46-50 of the ’532 Patent. For convenience, I refer to these

 variants as the “source origin” terms. In my opinion, a POSITA would have understood these




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 terms to mean a “measure representing the credibility of the calling party number or the calling

 party billing number.”

        42.       I understand that the parties dispute the proper construction of the “source origin”

 terms. In particular, I understand that the parties dispute two issues with respect to these terms:

 First, the parties disagree whether the claimed “metric” is an assessment of the credibility of the

 number associated with the call being placed or whether it is an assessment of the

 trustworthiness for the entity itself from which the call originated.1 Second, the parties disagree

 on whether “metric” encompasses a binary determination, such as “valid” or “invalid.” Here are

 the parties proposed constructions provided to me by counsel for TRUSTID:


                                                      TRUSTID’s                   Next Caller’s
            Terms                 Claims              Construction                Construction

 “source origin               ’985 Patent,       “measure representing      “a determination of the
 confidence metric” /         claims 1, 8, and   the credibility of the     trustworthiness for the
 “source origin               13-19;             calling party number       entity from which the call
 confidence metric of a                          or the calling party       originated”
 calling party number         ’532 Patent,       billing number”
 or billing number” /         claims 1, 19,
 “source origin               21-23, 25, 30,
 confidence metric for        32, 43, and 46-
 the calling party            50
 number or billing
 number”


        43.       Regarding the first disputed issue (number vs. entity), it is readily apparent from

 the claims and the specification that the recited metric is an assessment of the credibility of the

 number associated with the call being placed, not of the trustworthiness for the entity from which

 the call originated. Independent claims 1 and 13 of the ’985 Patent and independent claim 1 of

 the ’532 Patent recite that the “source origin confidence metric” is “for the calling party number

        1
            I have added all emphasis, such as italicizing, unless I state otherwise.

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 or billing number.” And independent claim 32 of the ’532 Patent recites assigning “a source

 origin confidence metric to the calling party number” using “operational status information,”

 where the “operational status information” is “associated with the calling party number

 information.” None of the independent claims refer to the entity who is placing the call.

 Accordingly, the plain language of the independent claims would have informed a POSITA that

 the recited metric is an assessment of the credibility of the number associated with the call being

 placed, not of the trustworthiness for the entity from which the call originated.

        44.     The dependent claims would have further informed and confirmed to a POSITA

 that the recited metric is an assessment of the credibility of the number associated with the call

 being placed, not of the trustworthiness for the entity from which the call originated. Claim 16 of

 the ’985 Patent and claim 21 of the ’532 Patent recite that “the source origin confidence metric is

 a probability that the calling party number or the billing number is valid.” Claim 17 of the ’985

 Patent and claim 22 of the ’532 Patent recite that “the source origin confidence metric indicates

 either the calling party number or the billing number is valid or invalid.” And claim 18 of the

 ’985 Patent and claim 23 of the ’532 Patent recite that “the source origin confidence metric

 indicates a calling party number or billing number validity indicator, wherein the validity

 indicators comprise a static set of predetermined indicators.” Each of these claims associate the

 recited metric with the number, not the entity that originated the call.

        45.     A POSITA would have also looked to claim 8 of the ’985 Patent and claim 25 of

 the ’532 Patent to confirm that the recited metric is an assessment of the credibility of the

 number associated with the call being placed, not of the trustworthiness for the entity from which

 the call originated. These claims recite adjusting “the source origin confidence metric based on

 personal risk factors of an entity associated with the calling party number or billing number.”


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 The independent claims determine a source origin confidence metric, which is associated with

 the number. Then, in these dependent claims, the source origin confidence metric is adjusted

 based on additional information, which is “based on personal risk factors of an entity associated

 with the calling party number or billing number.” It would have been clear to a POSITA that for

 these dependent claims the source origin confidence metric is a measure of the credibility of the

 number and not of the trustworthiness for the entity from which the call originated because there

 is no way to actually know who originated the call. The only information available is the number

 received from the ANI or Caller-ID and information (personal risk factors) associated with the

 entity that is associated with that number. The personal risk factors would, for example, be based

 on a database lookup or query. See’985 Patent at 11:33-45. In the example of a database query,

 the ANI / Caller-ID information would be sent as the primary key and the database would return

 the personal risk factors that were found to be associated with the received primary key (ANI /

 Caller-ID). Thus, in these dependent claims, the credibility assessment still focuses on the

 number, not the entity that originated the call.

         46.     The specification is replete with disclosures confirming that the recited metric is

 an assessment of the credibility of the number associated with the call being placed, not of the

 trustworthiness for the entity from which the call originated. For example, the specification

 discloses that the patent is generally directed to “[a] method of and system for discovering and

 reporting the trustworthiness and credibility of calling party number information, such as

 Automatic Number Identification (ANI) or Calling Number Identification (Caller ID)

 information . . . .” Id. at 3:64-4:3. It further states, “[i]f a specified one or number of such

 attributes suggest an anomalous or suspicious calling party number, the disclosed System

 determines noncompliance of the calling party number, and the System can terminate the



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 procedure and indicate to the User that a calling party number is of low credibility.” Id. at 4:35-

 39. The specification also unequivocally states that “[t]he confidence metric is used by one or

 both of the User and the System to determine the validity of the ANI. Once the ANI is validated,

 the recipient can have a higher degree of confidence in the validity of the calling party number

 and place more trust in it.” ’985 Patent at 4:59-65; see also id. at 11:9-11 (“A confidence metric

 is produced using statistical methods to indicate the probability that the ANI is correct.”); id. at

 11:46-49 (“A Metric Received 22 block represents receipt from API 6 of a confidence metric

 developed, scored, and created in Determine 20, indicating the probability that the ANI from

 Incoming Call 2 is valid.”); id. at 13:61-63 (“The results obtained include a calculated

 confidence metric representing the credibility of the calling party number (FIG. 1, process block

 20).”).

           47.   After reviewing the disclosure, I could not find a single instance in the claims or

 in the specification that would support determining the credibility or trustworthiness of the entity

 from which the call originated (e.g., the person that made the call). To the contrary, the patent

 discloses that because of the spoofing problem, banks have resorted to authenticating the identity

 of the entity making the call using, for example, personal identifying information such as a

 mother’s maiden name. Id. at 5:14-45. But the patent points out the major drawback of such

 authentication techniques and states that the purpose of the inventions was to “restore the value

 lost to spoofing . . . by again using and trusting validated ANI as a factor in authentication.” Id.

 at 5:40-45. That is, a POSITA would have understood that the purpose of the inventions was to

 restore the ability to reliably use information about the calling party number or billing number

 for authentication, not to authenticate the actual entity that originated the call.




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        48.       Regarding the second disputed issue related to “metric” (measure vs. binary

 determination), a POSITA would have understood that a “metric” is a measure of something, not

 a binary valid/invalid or yes/no determination. The specification supports this understanding. It

 explains that a metric is calculated using statistics and probabilities and indicates a probability.

 Specifically, the specification discloses:

              •   “Based on the closeness of patterns and the degree of match, a confidence metric

                  is calculated using statistical probabilities.” Id. at 4:59-61.

              •   “Each additional attribute or element such as carrier, line type, geo-location, time

                  of day, match of real time pattern to expected pattern is assigned a weighted value

                  as factors of a confidence metric. A confidence metric is produced using

                  statistical methods to indicate the probability that the ANI is correct.” Id. at 11:6-

                  11.

              •   “A Metric Received 22 block represents receipt from API 6 of a confidence

                  metric developed, scored, and created in Determine 20, indicating the probability

                  that the ANI from Incoming Call 2 is valid.” Id. at 11:46-49.

        49.       Based on these disclosures, a POSITA would have understood the recited metric

 to be more than a mere binary determination of validity or invalidity.

        50.       The specification also provides the following examples of metrics that would

 have further informed a POSITA’s understanding of this term: “metrics such as a fraud score,

 risk score, credit score, marketing score, affinity score, [or] expansion score.” Id. at 11:40-41. A

 POSITA would have understood that the various scores described in these examples represent

 more than a simple binary “valid” or “invalid” determination. For example, it was well known to

 POSITAs, as well as lay persons, that a “credit score” is a numerical expression of a person’s


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 creditworthiness that is typically computed using a rather complex formula that weighs the

 person’s past financial health and activities. POSITAs, as well as lay persons, would have further

 known that while a credit score may indicate to, or be used by, a lender to determine whether a

 given person is creditworthy or not (i.e., binary “yes” or “no”), the score itself is not a binary

 determination.

        51.       Newton’s Telecom Dictionary provides the following definition of “metric”:




        Exhibit B, Newton’s Telecom Dictionary, at 716 (annotated).

        52.       A POSITA would have been familiar with and would have looked to Newton’s

 Telecom Dictionary if there was any doubt as to the meaning of “metric” in the ’985 and ’532

 Patents. Newton’s definition of metric—“A measurement. A benchmark.”—is consistent with

 the specification’s description of the recited metric, and thus confirms my opinion that a metric is

 a measure of something, not a binary determination.

        53.       I understand that Next Caller believes that the following disclosure supports its

 position that the recited metric is a determination of trustworthiness that includes a binary

 valid/invalid determination:


                  In Determine 20, the results from Compare 18 are analyzed for
                  normalcy deviation and statistical match to patterns and their
                  timing or duration between messages or conditions. This analysis
                  entails comparing the real time patterns to previously expected call
                  patterns of valid and invalid calling party decomposing processes

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                to make a degree of match interpretation. In turn, these and other
                attributes or elements may be used to generate a score or metric of
                the validity of an ANI or, alternatively, as a singular determination
                such as “valid” or “invalid” or as a tiered system such as “red,”
                “yellow,” “green.”

        ’985 Patent at 10:63-11:6.

        54.     I disagree with Next Caller. A POSITA would have understood that this

 disclosure presents three alternatives: “In turn, these and other attributes or elements may be

 used to [1] generate a score or metric of the validity of an ANI or, alternatively, [2] as a singular

 determination such as ‘valid’ or ‘invalid’ or [3] as a tiered system such as ‘red,’ ‘yellow,’

 ‘green.’” This sentence uses the conjunction “or” to present three alternatives; it does not equate

 “a score or metric” to “a singular determination such as ‘valid’ or ‘invalid.’”

        55.     I also understand that Next Caller points to dependent claim 17 of the ’985 Patent

 and to dependent claims 22 and 47 of the ’532 Patent to support its position. These claims recite

 that “the source origin confidence metric indicates either the calling party number or the billing

 number is valid or invalid.” I disagree with Next Caller. As I discussed above with respect to the

 “credit score” example from the specification, a metric or score may indicate a valid/invalid or

 yes/no result, but that does not mean that the metric itself is merely a binary determination.


        C. The term “consortium information” recited in claim 10 of the ’985 Patent


        56.     Counsel for TRUSTID has asked me to opine on how a POSITA would have

 understood the term “consortium information” that is recited in claim 10 of the ’985 Patent and

 in claim 27 of the ’532 Patent. For example, claim 10 of the ’985 Patent recites, “retrieving

 consortium information by the system associated with the called party telephonic device from an

 external database.” In my opinion, a POSITA would have understood “consortium information”

 to mean “commercially available, aggregated data.”

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        57.     The term “consortium information” would have been a well understood term in

 the telecommunications industry at the time of the inventions, namely commercially available,

 aggregated data. POSITAs would have known that telecommunication carriers often provided

 data to third parties—such as North American Number Plan Administration (NANPA),

 NetNumber, TNS, Targusinfo and InfoUSA (’985 Patent at 7:35-65)—who aggregate call-

 related data from the telecommunications carriers into databases. These databases were known as

 consortium databases because the stored data was aggregated from multiple sources. This

 aggregated data was then made available for a subscription fee. The parties that had access to the

 databases then used the aggregated data for evaluating call-trustworthiness, authenticating

 callers, anti-spoofing, and evaluating incoming telephone calls. Thus, in the telecommunications

 industry, the plain meaning of “consortium information” at the time of the invention is properly

 limited to commercially available, aggregated data.

        58.     The specification supports this meaning. To start, it uses the term “consortium”

 only one time to describe retrieving information from a “consortium database”: “or information

 from a consortium database such as calling velocity to multiple locations within a specified time

 period.” Id. at 11:42-45. This description would have informed a POSITA that consortium

 information is information retrieved from a consortium database, which is not a particularly

 helpful definition. But the specification also describes several databases that a POSITA would

 have understood to be consortium databases, such as the Local Number Portability (LNP)

 database (id at 7:35-44, 12:65-13:6, 13:67-14:10), which would have further informed a POSITA

 as to the meaning of “consortium information.”

        59.     The Federal Communications Commission (FCC) issued its first report and order

 (R&O) and further notice of proposed rulemaking mandating implementation of telephone



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 number portability on July 2, 1996. Exhibit C, FCC 96-286, at 4. Paragraph 5 from that R&O is

 copied below to provide context for the mandated implementation:


                5. We conclude that a system of regional databases that are
                managed by an independent administrator will serve the public
                interest. We direct the North American Numbering Council
                (NANC) to provide initial oversight of this regional database
                system. We direct the NANC to determine the number and location
                of the regional databases and to select one or more administrators
                responsible for deploying the database system.

        Id.

        60.     In the late 1990’s and early 2000’s, the regional bell operating companies along

 with Bellcore, implemented the systems and databases necessary to implement the mandated

 number portability. Eventually, access to the LNP databases became available to all service

 providers and others willing to pay the associated access fees. As stated above, the ’985 Patent

 describes accessing the LNP databases:


                A Carrier Discovery 8 block represents a query of available
                network-accessible Local Number Portability (LNP) databases,
                such as the ones maintained by North American Numbering Plan
                Administration (NANPA), NetNumber, or TNS, to determine the
                current telecommunication carrier that services and owns the ANI
                number delivered in Transmission 4 from the incoming call placed
                to the called party in Incoming Call 2. This query could be
                performed via the Internet using a secure TCP/IP protocol or other
                methods, such as Signaling System 7 (SS7), ATM, ITU-T,
                SIGTRAN, or Enum.

        ’985 Patent at 7:35-44.

 The ’985 Patent also describes using the data provided by the LNP database:


                Services layer 52 interfaces with telecommunications network 58
                (FIG. 1, process block 14) through gateway external server 96,
                firewall 98 and a virtual switch 100, and gateway firewall 102 to
                place a test call to the supposed calling party number of the
                incoming call to User 56. Services layer 52 interfaces with LNP

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                carrier service provider 60 (FIG. 1, process block 8) to access
                (sometimes by purchase) call information data and to return
                accessed data to message queue server 64 through application
                server 66, to virtual switch 78 and firewall 98, through virtual
                switch 106 and gateway firewall 102.

        Id. at 13:67-14:10.

        61.     The data stored in the LNP databases is aggregated from numerous service

 providers, and is made commercially available to the service providers as well as others that need

 to retrieve and use this information. Accordingly, a POSITA would have understood that the

 information retrieved from a consortium database had two necessary characteristics. First, it was

 collected or aggregated from multiple sources. And second, the information was made

 commercially available such that third parties could access and use the information, such as how

 service providers access and use the data in the LNP database.

        62.     Another consortium database that a POSITA would have been familiar with was

 the Line Information Database (LIDB). LIDBs contain a plethora of information:


                14.5 Line Information Database Capabilities

                Another set of services based on data received via CCS are those
                services that depend upon data contained in Line Information
                Databases (LIDBs)3. LIDBs contain data about line numbers,
                including billing validation information and line characteristic
                information. A line’s data can be accessed by a network node
                needing information about that line when it is the originating or the
                billing number for a particular call. Each LIDB is accessed by
                Query Originators (QOs) owned by the same company that owns
                the LIDB, as well as by QOs owned by other companies. …

                LIDBs also contain other information about individual line
                numbers, such as the type of service/equipment (e.g., person,
                public, POTS) and the name associated with each line number.


                3
                  LIDBs are currently accessed by Query Originators (QOs) only
                via CCS SS7. However, due to industry interest in accessing

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                LIDBs to retrieve data for use by various networks’ services (e.g.,
                NGNs, IP Networks), generic requirements work is occurring in
                2000 to support LIDB access via TCP/IP using LDAP (see Section
                14.5.8).

 Exhibit D, Telcordia Notes on the Networks (Telcordia Technologies Special Report, SR-2275,

 Issue 4, October 2000), at 14-31. POSITAs would understand “consortium information” as stated

 in claim 10 of the ’985 Patent and in claim 27 of the ’532 Patent, informed by the specification,

 to be the type of commercially available, aggregated data that is provided in LNP and LIDB and

 other similar databases. Accordingly, such consortium databases were common in the telecom

 industry at the time of the inventions, and a POSITA would have understood that the information

 retrieved from such databases, i.e., consortium information, was both commercially available and

 aggregated.




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 VI.        CONCLUSION

        I declare under penalty of perjury under the laws of the United States of America that the

 foregoing is true and correct to the best of my knowledge.

        Executed this 17th day of April 2019 in Melbourne FL, USA.


                                                                    ________________________
                                                                    James R. Bress




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